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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                FORT WAYNE DIVISION

JERRE TANKSLEY                                        )
                                                      )
v.                                                    )       Case No. 01:93-CR-21
                                                      )
UNITED STATES OF AMERICA                              )


                       MEMORANDUM OF DECISION AND ORDER

       Presently before the court is Petitioner Jerre Tanksley’s (“Tanksley’s”) “Motion Pursuant

to Rule 60(b) 5 & 6 Relief from Judgment or Order” filed on January 18, 2005 and a “Motion

Requesting a Speedy Trial or Dismissal of Complaint and Sentence” filed on March 8, 2005. The

Rule 60(b)(5) and (6) motion is identical in content to an August 18, 2004 filing made by Tanksley

in which he requested that his sentence be reduced in light of the Supreme Court’s decision in

Blakely v. Washington, --- U.S. ----, 124 S.Ct. 2531, 159 L.Ed.2d 403 (2004) and, more recently,

United States v. Booker, 125 S.Ct. 738 (2005). The motion requesting a speedy trial seeks a jury trial

on the sentencing issues found by the undersigned by a preponderance of the evidence prior to

Tanksley’s sentencing in June 1996.

       With respect to the initial Rule 60(b)(5) petition, on September 1, 2004, the undersigned

entered an order deeming Tanksley’s filing to be a successive request for relief pursuant to 28 U.S.C.

§2255 and dismissing the petition for lack of jurisdiction since Tanksley had not received

authorization from the Seventh Circuit Court of Appeals before filing the second motion in the

district court. See Docket Entry 80.     There is no evidence that Tanksley has, in fact, received

authorization from the Seventh Circuit to proceed with his present motion in the district court and,

for good reason. In McReynold’s v. United States, 397 F.3d 479, 481 (7th Cir. 2005), the Seventh

Circuit expressly refused to extend Booker to cases on collateral review:
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       We conclude, then, that Booker does not apply retroactively to criminal cases that
       became final before its release on January 12, 2005. That date, rather than June 24,
       2004, on which Blakely v. Washington, --- U.S. ----, 124 S.Ct. 2531, 159 L.Ed.2d 403
       (2004), came down, is the appropriate dividing line;.


Here, Tanksley’s case became final in 1998 and leave from the appellate court has not been obtained

to file the present motion. As a result, this court lacks jurisdiction over Tanksley’s request and his

petition is dismissed. Tanksley’s Request for a Speedy Trial is DENIED.

                                          CONCLUSION

       Tanksley’s “Motion Pursuant to Rule 60(b) 5 & 6 Relief from Judgment or Order” is

deemed a successive petition for relief under 28 U.S.C. §2255. Tanksley has not received

certification for the filing thereof from the Court of Appeal and thus, this court is without

jurisdiction to entertain his motion. The petition is therefore, dismissed. Tanksley’s Request for a

Speedy Trial is DENIED.

SO ORDERED.

This 4th day of May, 2005

                                                                                  s/ William C. Lee
                                                                        United States District Court
                                                                        Northern District of Indiana
